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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                               :
 KEWAZINGA CORP.,                                              :
                                          Plaintiff,           :
                                                               :     20 Civ. 1106
 -against-                                                     :
                                                               :         ORDER
 GOOGLE LLC, et al.,                                           :
                                          Defendants.          :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

          WHEREAS, a conference was on September 21, 2022, regarding the parties’ proposed

motions for summary judgment and a discovery dispute. For the reasons stated at the conference,

it is hereby

          ORDERED that Defendants shall produce to Plaintiff’s expert Mr. Gregory Kohs (or

otherwise grant him access to), all materials relied upon or mentioned in the body of the expert

reports of Defendants’ expert, Dr. Carol Scott, but Defendants need not produce or grant access

to materials designated “Highly Confidential – Attorneys’ Eyes Only” that appear only in the

portion of her reports listing materials she considered. It is further

          ORDERED that Plaintiff’s request to preclude trial testimony from Dr. Scott regarding

these documents is DENIED without prejudice and can be addressed in a motion in limine. It is

further

          ORDERED that Plaintiff’s request to strike portions of Dr. Scott’s reports is DENIED.

It is further

          ORDERED that Plaintiff’s request that Defendants be precluded from using deposition

testimony of Mr. Kohs regarding this material is GRANTED. It is further

          ORDERED that by September 28, 2022, the parties shall file a joint letter state whether

the parties would like a referral to the assigned Magistrate Judge for settlement discussions, or
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would prefer to retain their own private mediator. The parties shall wait to file motions for

summary judgment until after settlement discussions have been concluded.

Dated: September 22, 2022
       New York, New York
